           Case 1:20-cv-03208-JMF Document 49 Filed 09/21/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------ ---------x
                                                                :
IN RE COLUMBIA UNIVERSITY TUITION                               :   Lead Case No. 1:20-cv-03208 (JMF)
REFUND ACTION                                                   :
                                                                :   (ORAL ARGUMENT REQUESTED)
---------------------------------------------------------------x


           PLAINTIFFS’ SECOND NOTICE OF SUPPLEMENTAL AUTHORITY

         Plaintiffs hereby provide notice of supplemental authority in another COVID-19 tuition

and fee refund action in relation to Plaintiff’s Memorandum in Opposition to Defendant’s

Motion to Dismiss (Dkt. No. 45). The decision issued by the Honorable James A. Moody, Jr. is:

    1.) Salerno and Murillo v. Florida Southern College, Case No. 8:20-cv-1494-30SPF2020
        WL 5583522 (M.D. Fla., Sept. 16, 2020).

         After dispensing with a standing issue, not present in this matter, the Court addressed the

Motion to Dismiss the breach of contract action:

          The crux of the College’s motion is that the amended complaint does not identify
          a specific contractual provision that establishes that the College had an
          obligation to provide “in-person educational services” for the entire Spring 2020
          semester. The Court disagrees based on its careful review of the amended
          complaint. Throughout the amended complaint, Murillo alleges that the
          College’s publications clearly implied that courses would be conducted in-
          person. The College’s materials also touted its many resources and facilities—all
          of which were located on the campus thereby implying in-person participation.
          These allegations are sufficient at this early stage, especially because Florida law
          recognizes that the college/student contract is typically implied in the College’s
          publications. In other words, this is not a typical contract situation where there is
          an express document with delineated terms that a plaintiff can reference.

         The Court further denied the Motion to Dismiss as to unjust enrichment stating

“this Court has consistently held that a plaintiff may allege alternative claims in her

complaint.” Id. at 11.


                                                          1
          Case 1:20-cv-03208-JMF Document 49 Filed 09/21/20 Page 2 of 2




       Plaintiffs’ conversion claim was dismissed since apparently Plaintiffs alleged and

argued that the “in-person learning” was the property converted. Therefore, the Court

held that the same “is intangible and not the proper subject of a conversion claim.” Id. at

12.   That argument was not advanced by Plaintiffs in this matter, nor raised by

Defendant, as a result the same is inapposite and without support for either party.

       Plaintiffs respectfully suggest that the Court’s decision in Salerno as to the breach of

contract and unjust enrichment causes of action support Plaintiffs’ position in opposition to

Defendant’s Motion to Dismiss.

September 21, 2020


ANASTOPOULO LAW FIRM, LLC                       GAINEY McKENNA & EGLESTON

By: /s/ Roy T. Willey IV                        Thomas J. McKenna
Roy T. Willey IV (admitted pro hac vice)        Gregory M. Egleston
Eric M. Poulin (admitted pro hac vice)          501 Fifth Avenue, 19th Floor
32 Ann Street                                   New York, NY 10017
Charleston, SC 29403                            Tel.: (212) 983-1300
Tel: (843) 614-8888                             Email: tjmckenna@gme-law.com
Email: roy@akimlawfirm.com                      Email: gegleston@gme-law.com
Email: eric@akimlawfirm.com

TOPTANI LAW PLLC                                MOREA SCHWARTZ BRADHAM
Edward Toptani                                  FRIEDMAN & BROWN LLP
375 Pearl Street, Suite 1406                    John M. Bradham
New York, NY 10038                              444 Madison Avenue, 4th Floor
Tel: (212) 699-8930                             New York, NY 10022
Email: edward@toptanilaw.com                    Tel: (212) 695-8050
                                                Email: jbradham@msbllp.com




                                                 2
